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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION
                      CIVIL ACTION NO. 3:13-CV-00710-TBR-DW

     SBAV LP,                                                                       Plaintiff,

     v.

     PORTER BANCORP, INC., et al.,                                               Defendants.

                       MEMORANDUM OPINION AND ORDER
            The Board of Governors of the Federal Reserve System and the Federal Deposit

     Insurance Corporation (“the Agencies”) seek to intervene in a discovery dispute between

     SBAV LP and Porter Bancorp, Inc., regarding the production of certain bank examination

     documents. In light of the Agencies’ request, Bancorp also asks the Court to stay its

     earlier Order on that issue. In SBAV LP v. Porter Bancorp, Inc., No. 3:13-CV-00710-

     TBR, 2015 WL 1471020 (W.D. Ky. Mar. 31, 2015), as amended (W.D. Ky. Apr. 1,

     2015), the Court overruled Bancorp’s objection to producing bank examination

     documents. The Agencies have moved to intervene and ask this Court to reconsider that

     ruling. According to them, the federal common law of privilege and other administrative

     processes shield bank examination documents, such as those involved here, from

     disclosure. For reasons developed more fully below, the Court agrees that the Agencies

     are entitled to participate on this narrow issue and GRANTS the Agencies’ Motion to

     Intervene (R. 201) and Bancorp’s Motion to Stay (R. 205).

                                                I.

                                                A.

            The Court has discussed the general facts of this case in prior opinions, but will

     repeat them as necessary to resolve the current controversy. In January 2013, SBAV

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     filed this lawsuit against Porter Bancorp, Inc., a publically-traded bank holding company,

     after losing its $5 million investment in PBI Bank, Inc., one of Bancorp’s wholly-owned

     subsidiaries. SBAV LP, 2015 WL 1471020, at *1–2. The gravamen of SBAV’s lawsuit

     is that Bancorp misrepresented the financial solvency of the Bank to secure SBAV’s

     investment. Id. at *2. Among other things, SBAV alleges that Bancorp misrepresented

     the degree to which the Federal Deposit Insurance Corporation, the Board of Governors

     of the Federal Reserve System, and the Kentucky Department of Financial Institutions

     maintained confidence in the Bank’s financial condition. Id. at *1–2.

            In an effort to support its theory, SBAV sought discovery from Bancorp related

     to, inter alia, the FDIC and the Federal Reserve’s prior examinations of the Bank. Id. at

     *3–4. Bancorp objected to producing that information on the basis of the federal bank

     examination privilege, and SBAV moved to compel. Id. at *4. The Magistrate Judge

     granted SBAV’s request, and this Court overruled Bancorp’s objection on April 1, 2015.

     Id.   The Court held that Kentucky common law, under which there is no bank

     examination privilege, controlled. Id. at *5–8. Even assuming the federal common law

     of privilege applied, however, the Court found good cause to overcome it. Id. at *9–10.

     Rounding out its opinion, the Court concluded that SBAV need not exhaust the FDIC and

     Federal Reserve’s administrative processes but instead could obtain the documents from

     Bancorp under Federal Rule of Civil Procedure 34. Id. at *10–11.

                                                B.

            The Agencies sought to intervene in this litigation on April 10, 2015, for the

     limited purpose of contesting the Court’s opinion described above. (R. 201 at 1 (Motion

     to Intervene).) Bancorp filed a response supporting intervention, (R. 206 (Response in



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     Support of Intervention)), and SBAV filed a response objecting to the same, (R. 203

     (Response in Opposition to Intervention)). In addition, Bancorp moved the Court on

     May 4, 2015, to stay its earlier Order until the Court decided the merits of the Agencies’

     petition. (R. 205 at 1 (Motion to Stay).)

                                                 II.

                                                 A.

            Civil Rule 24 allows for two types of intervention: permissive and as a matter of

     right. Fed. R. Civ. P. 24(a)–(b). To establish the latter, a proposed intervenor must show

     “that ‘(1) the application was timely filed; (2) the applicant possesses a substantial legal

     interest in the case; (3) the applicant’s ability to protect its interest will be impaired

     without intervention; and (4) the existing parties will not adequately represent the

     applicant’s interest.’” Reliastar Life Ins. Co. v. MKP Invs., 565 F. App’x 369, 371 (6th

     Cir. 2014) (quoting Blount-Hill v. Zelman, 636 F.3d 278, 283 (6th Cir. 2011)); see also

     Coal. to Defend Affirmative Action v. Granholm, 501 F.3d 775, 779 (6th Cir. 2007)

     (citing Grutter v. Bollinger, 188 F.3d 394, 397–98 (6th Cir. 1999)) (same). While an

     applicant must satisfy all four prongs to intervene, the Sixth Circuit has instructed that

     Civil Rule 24 “should be ‘broadly construed in favor of potential intervenors.’”

     Granholm, 501 F.3d at 779 (quoting Purnell v. City of Akron, 925 F.2d 941, 950 (6th Cir.

     1991)). When determining the propriety of intervention, the Court must accept as true

     the proposed intervenor’s well-pleaded facts. Horrigan v. Thompson, 145 F.3d 1331,

     1998 WL 246008, at *2 (6th Cir. 1998) (unpublished table disposition); see also Charles

     Alan Wright et al., 7C Federal Practice and Procedure § 1914 (3d ed.), Westlaw

     (database updated April 2015) (“[T]he court will accept as true the well-pleaded



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     allegations in the [motion to intervene].”). 1 The Court “retains broad discretion in setting

     the precise scope of intervention.” United States v. City of Detroit, 712 F.3d 925, 933

     (6th Cir. 2013); see also Fed. R. Civ. P. 24 advisory committee notes (1966 amendment)

     (“An intervention of right under the amended rule may be subject to appropriate

     conditions or restrictions responsive among other things to the requirements of efficient

     conduct of the proceedings.”).

                                                       B.

             Likewise, and subject to congressional limitation, this Court is vested with

     inherent power “to process litigation to a just and equitable conclusion.” ITT Cmty. Dev.

     Corp. v. Barton, 569 F.2d 1351, 1359 (5th Cir. 1978) (citing Ex parte Peterson, 253 U.S.

     300, 312–14 (1920)). Among those is the Court’s authority to stay its own orders. See

     Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has broad discretion to

     stay proceedings as an incident to its power to control its own docket.” (citing Landis v.

     N. Am. Co., 299 U.S. 248, 254 (1936))); see also In re NLO, Inc., 5 F.3d 154, 157 (6th

     Cir. 1993); Jewell v. Davies, 192 F.2d 670, 672–73 (6th Cir. 1951). In exercising its

     judgment, this Court must “weigh competing interests and maintain an even balance.”

     Landis, 299 U.S. at 255 (citing Kan. City S. Ry. Co. v. United States, 282 U.S. 760, 763

     (1931); Enelow v. N.Y. Life Ins. Co., 293 U.S. 379, 382 (1935)).

             With its task appropriately framed, the Court turns first to the merits of the

     Agencies’ petition.


             1
                 The published opinions of other United States Courts of Appeals are in accord with this
     proposition. See Hildes v. Arthur Andersen LLP, 734 F.3d 854, 857 n.1 (9th Cir. 2013), cert. denied sub
     nom. Moores v. Hildes, 135 S. Ct. 46 (2014); B. Fernandez & Hnos., Inc. v. Kellogg USA, Inc., 440 F.3d
     541, 543 (1st Cir. 2006); Reich v. ABC/York-Estes Corp., 64 F.3d 316, 321 (7th Cir. 1995); Chesapeake
     Bay Found. v. Am. Recovery Co., 769 F.2d 207, 209 n.* (4th Cir. 1985); Foster v. Gueory, 655 F.2d 1319,
     1321 (D.C. Cir. 1981); Mendenhall v. M/V Toyota Maru No. 11, 551 F.2d 55, 56 n.2 (5th Cir. 1977); Kozak
     v. Wells, 278 F.2d 104, 109 (8th Cir. 1960).

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                                                       III.

                                                        A.

             The Agencies seek to intervene in this litigation for the limited purpose of

     contesting this Court’s prior opinion. (See R. 201 at 1.) SBAV opposes intervention only

     on grounds of timeliness. (See R. 203 at 4–5.) 2 Therefore, the Court must determine if

     the Agencies timely sought to intervene in the present action.

                                                        1.

             Courts in this Circuit consider five factors to measure the timeliness of an

     application for intervention as of right:

             1) the point to which the suit has progressed; 2) the purpose for which
             intervention is sought; 3) the length of time preceding the application
             during which the proposed intervenors knew or should have known of
             their interest in the case; 4) the prejudice to the original parties due to the
             proposed intervenors’ failure to promptly intervene after they knew or
             reasonably should have known of their interest in the case; and 5) the
             existence of unusual circumstances militating against or in favor of
             intervention.

     City of Detroit, 712 F.3d at 930–31 (quoting Grubbs v. Norris, 870 F.2d 343, 345–46 (6th

     Cir. 1989)). No single factor controls. Instead, the Court must evaluate each “in the

     context of all relevant circumstances,” Blount-Hill, 636 F.3d at 284 (quoting Stupak-

     Thrall v. Glickman, 226 F.3d 467, 472–73 (6th Cir. 2000)) (internal quotation marks

     omitted), and is afforded considerable discretion in performing its task, see City of

     Detroit, 712 F.3d at 930.

             2
                SBAV does not contest that the Agencies satisfy the other elements to intervene as a matter of
     right. (See R. 203 at 5.) Therefore, SBAV has waived any argument on the point. See Drake v. U.S.
     Enrichment Corp., 63 F. Supp. 3d 721, 725 (W.D. Ky. 2014) (citing Ctr. for Biological Diversity v. Rural
     Utils. Serv., No. CIV.A. 5:08-292-JMH, 2009 WL 3241607, at *3 (E.D. Ky. Oct. 2, 2009)); cf. Scottsdale
     Ins. Co. v. Flowers, 513 F.3d 546, 551–54 (6th Cir. 2008) (waiver on appeal). But even if it did not, the
     Court would still conclude that intervention is proper. See Local 295/Local 851 IBT Emp’r Grp. Pension
     Tr. & Welfare Funds v. Fifth Third Bancorp, No. 1:08-CV-421, 2012 WL 346658, at *2–4 (S.D. Ohio Feb.
     2, 2012) (allowing the Federal Reserve to intervene as of right to assert the bank examination privilege),
     adopted by No. 1:08-CV-421, 2012 WL 639579 (S.D. Ohio Feb. 28, 2012).

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                                                 2.

            On balance, the Court concludes that the Agencies have timely moved to

     intervene in this matter. First, discovery is ongoing and no deadline has been set for its

     termination. Substantial progress has been made, but the end is not yet in sight. If

     intervention following the entry of judgment may be considered timely in some

     circumstances, see United Airlines, Inc. v. McDonald, 432 U.S. 385, 395–96 & n.16,

     intervention in these circumstances is all the more appropriate, see Cline v. Gowing, No.

     1:04-CV-00833, 2007 WL 978098, at *3 (N.D. Ohio Mar. 29, 2007) (holding

     intervention timely when discovery remained ongoing).

            The limited scope for which the Agencies seek to intervene further supports their

     position. The Agencies do not ask to speak on the merits of SBAV and Bancorp’s

     dispute. Instead, the Agencies disagree with the substance of this Court’s prior decision

     and intend to file with this Court a motion to reconsider the same. (See R. 201-1 at 8–

     20.) The Agencies’ request is both narrow and reasonable.

            The Agencies also moved to intervene within a reasonable time after becoming

     aware of how this litigation might affect their interests. It appears undisputed that the

     Agencies had no knowledge of the litigation prior to the Magistrate Judge’s January 16,

     2015 Order. (See R. 201-1 at 4; accord R. 203 at 4.) Although unclear, the Agencies

     seem to have learned of the controversy sometime between then and April 10, 2015. The

     Agencies asked to intervene “less than two weeks after the Court’s March 31st Order,

     and prior to the production of any privileged information.” (R. 201-1 at 7.) Such a short

     length of time does not weigh against intervention.




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              Likewise, neither SBAV nor Bancorp will be unduly prejudiced—SBAV’s

     arguments to the contrary notwithstanding. The only prejudice SBAV identifies in its

     briefing is the “delay caused by [Bancorp’s] refusal to notify the Agencies” and the

     burden of again briefing the questions answered in this Court’s decision. (R. 203 at 5.) It

     is settled, however, that to “the extent the assertion of [the intervenors’] relevant interests

     may cause delay, such a consideration is not grounds for denial of intervention—the

     analysis must be limited to the prejudice caused by the untimeliness, not the intervention

     itself.” City of Detroit, 712 F.3d at 933 (citing Stallworth v. Monsanto Co., 558 F.2d 257,

     267 (5th Cir. 1977)). Even if Bancorp shirked its responsibility to timely notify the

     Agencies, 3 the Agencies cannot be faulted for that. On balance, then, any prejudice to

     SBAV and Bancorp is outweighed by the Agencies’ interest in participating on the

     questions of privilege and exhaustion. The Court has adequately addressed SBAV’s

     “legitimate concerns with finality, prejudice, and efficiency . . . by limiting the scope of

     intervention.” Id. at 932.

              Finally, the Sixth Circuit Court of Appeals has found, in similar circumstances,

     compelling reasons favoring intervention. As In re Bankers Trust Co., 61 F.3d 465 (6th

     Cir. 1995), said:

              [W]e think it advisable if not necessary for a party in litigation that
              possesses ‘confidential supervisory information’ to inform the Federal
              Reserve of any requests for production so the Federal Reserve will have
              notice and the opportunity to intervene and protect any interests,
              arguments, or concerns it may have.

              3
                While SBAV and Bancorp spend much time debating which of the two had the responsibility to
     notify the Agencies about this litigation, it is at least plausible to say that such responsibility belonged to
     each. Compare 12 C.F.R. § 261.23(a)(1) (requiring person served with a subpoena to promptly notify the
     Federal Reserve’s General Counsel), and id. § 309.7(b) (same for FDIC), with id. § 261.22(b)(1) (requiring
     person seeking access to confidential information to file written request with the Federal Reserve’s General
     Counsel), and id. § 309.6(b) (same for FDIC). Yet despite being a prominent discovery issue for some
     time, inexplicably, neither bothered to notify the Agencies through any formal process. (R. 201-1 at 4;
     accord R. 203 at 4.)

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     Id. at 470 n.6. It instructed the district court on remand to “provide the Federal Reserve

     with notice and allow the Federal Reserve the opportunity to intervene,” id. at 472, not

     merely to be heard. The reason is simple: “The bank examination privilege belongs to

     the Federal Reserve, and therefore, where a claim of the privilege is appropriate, the

     Federal Reserve must be allowed the opportunity to assert the privilege and the

     opportunity to defend its assertion.” Id. (emphasis added). By granting the Agencies’

     request to intervene, the Court does precisely that.

            Considering the totality of circumstances involved in this litigation, the Court

     holds that the Agencies may intervene as a matter of right.

                                                  B.

            In light of the Agencies’ request, Bancorp asks the Court to stay its earlier Order.

     (R. 205 at 1.) Staying the Order will allow the Agencies the opportunity “to assert and

     defend the bank examination privilege,” Bancorp argues. (R. 205-1 at 1.) In addition,

     Bancorp says, a stay will allow the Court to reconsider its prior opinion and will promote

     an efficient and final resolution of the parties’ dispute. (Id. at 2.) Having considered the

     parties’ arguments and the record as a whole, the Court concludes that staying its prior

     Order is equitable under the present circumstances.

            The Agencies have expressed their intent to participate and in fairness the Court

     ought to afford them that opportunity. If the Agencies are correct—a question which

     remains to be seen—disclosure could, at least in theory, irreparably harm them. Cf. In re

     Prof’ls Direct Ins. Co., 578 F.3d 432, 438 (6th Cir. 2009) (holding forced disclosure of

     privileged documents constitutes irreparable harm in context of writ practice). And, of

     course, without staying its Order, Bancorp remains in the unenviable position of having



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     to produce what the Agencies characterize as privileged documents in the interim.

     Allowing the Agencies to file a motion to reconsider will promote a final resolution to

     what has been an ongoing discovery dispute, this Court’s prior opinion notwithstanding.

            SBAV responds that the privilege issue has been twice briefed, and that there is

     no utility in briefing the issue thrice. (R. 210 at 1–2 (Response in Opposition to Stay).)

     The Court is not without sympathy to SBAV, and its arguments are not without some

     force either. But those arguments are directed more to the question of intervention and

     less to the equities of staying the Order: With or without a stay, if the Agencies petition

     for reconsideration, SBAV will be forced to decide whether it will file a response, or

     whether it will rest on the laurels of its past briefing. The probability of additional

     briefing alone does not weigh against granting a stay.

            SBAV’s remaining argument is directed against Bancorp alone. Bancorp cannot

     be permitted to seek a stay, SBAV says, after waiting over a year to notify the Agencies

     of the instant litigation. (Id. at 2.) Seen through SBAV’s eyes, the request for a stay is

     merely Bancorp’s “latest gambit to delay the progress of this case.” (Id.) Whatever the

     merits of those observations may be, however, none diminishes the Agencies’ interest in

     pursuing reconsideration of the Court’s earlier opinion. Appropriately balanced, the

     equities weigh in favor of granting a limited stay.

                                                 IV.

            For the reasons discussed above, and being otherwise sufficiently advised;

            IT IS HEREBY ORDERED that Nonparties Board of Governors of the Federal

     Reserve System and the Federal Deposit Insurance Corporation’s Motion to Intervene (R.

     201) is GRANTED for the limited purpose of filing a motion to reconsider the Court’s



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     Memorandum Opinion and Order of April 1, 2015 (R. 198), and to take an appeal, if any,

     on the issues addressed therein;

             IT IS FURTHER ORDERED that Defendant Porter Bancorp’s Motion to Stay

     (R. 205) is GRANTED, and that the Court’s Memorandum Opinion and Order of April

     1, 2015 (R. 198) IS HEREBY STAYED;

             IT IS FURTHER ORDERED that all other discovery SHALL PROCEED

     consistent with this Memorandum Opinion and Order;

             A separate Order setting a Telephonic Status Conference to establish a briefing

     schedule shall issue separate from this Memorandum Opinion and Order.

             IT IS SO ORDERED.

     Date:   October 13, 2015


     cc:     Counsel of Record




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